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                                 UNITED STATES DISTRICT COURT
10                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
11
     Esteban ALEMAN GONZALEZ; Jose                    Case No. 3:18-CV-01869-JSC
12   Eduardo GUTIERREZ SANCHEZ,
13   Plaintiffs-Petitioners,
                                                      REPLY IN SUPPORT OF MOTION FOR
14   v.                                               CLASS CERTIFICATION
15   Jefferson B. SESSIONS, Attorney General,
     Department of Justice; Kirstjen NIELSEN,
16   Secretary, Department of Homeland Security;      Date: May 31, 2018
     James McHENRY, Director, Executive Office        Time: 9:00 a.m.
17   for Immigration Review, Department of            Place: 15th Floor, Courtroom F
     Justice; MaryBeth KELLER, Chief                  Before: Hon. Jacqueline Scott Corley
18   Immigration Judge, Executive Office for
     Immigration Review, Department of Justice;
19   Erik BONNER, Acting Field Office Director
     for the San Francisco Field Office of U.S.
20   Immigration and Customs Enforcement,
     Department of Homeland Security; David O.
21   LIVINGSTON, Sheriff, Contra Costa County;
     Kristi BUTTERFIELD, Facility Commander,
22   West County Detention Facility, Contra Costa
     County,
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     Defendants.
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 1      I.      INTRODUCTION
 2           Defendants’ challenge to certification of Plaintiffs’ proposed class under Rule 23
 3   essentially rests on a single erroneous argument: that Plaintiffs’ statutory and constitutional
 4   claims to a bond hearing are not common because there are differences among Plaintiffs and
 5   their underlying immigration proceedings. Contrary to Defendants’ assertion, these differences
 6   are legally irrelevant to the claims and legal questions at the core of this case. Defendants have
 7   not and cannot dispute that the named Plaintiffs and the class they seek to represent (collectively,
 8   “Plaintiffs”) are all detained pursuant to 8 U.S.C. § 1231(a)(6). Nor have Defendants disputed
 9   that they have a common practice of denying Plaintiffs individual bond hearings after they
10   exceed six months in detention. In denying bond hearings to each class member, Defendants
11   advance the same erroneous interpretation of § 1231(a)(6).
12           Defendants do not contest that Plaintiffs share a common statutory claim: that Defendants
13   violate § 1231(a)(6) by denying them an individualized bond hearing after their time in detention
14   exceeds six months. Plaintiffs’ statutory claim rests upon the Ninth Circuit’s decision in Diouf II,
15   which expressly construed “§ 1231(a)(6) as requiring an individualized bond hearing, before an
16   IJ, for [individuals] facing prolonged detention under that provision,” and defined prolonged
17   detention as detention extending beyond six months. Diouf v. Napolitano (Diouf II), 634 F.3d
18   1081, 1086, 1091 (9th Cir. 2011). While Defendants believe that Diouf II is no longer good law,
19   the court’s resolution of that argument will apply uniformly to the class and resolve all class
20   members’ claims “in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).
21   Thus, Plaintiffs meet the commonality, typicality, adequacy and numerosity requirements
22   regarding their statutory claim.
23           Defendants argue that Plaintiffs’ constitutional claims are not common because the
24   application of Zadvydas v. Davis, 533 U.S. 678, 690-92 (2001), depends on allegedly relevant
25   differences among the Plaintiffs. However, Defendants fundamentally misunderstand the nature
26   of Plaintiffs’ due process claim: Plaintiffs do not seek outright release because their detention is
27   indefinite under Zadvydas; rather, Plaintiffs only seek bond hearings because their detention is
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 1   prolonged. Courts, including the Ninth Circuit, have found that immigration detainees share a
 2   common due process claim to a bond hearing, and have found class certification warranted on
 3   that basis. See Rodriguez v. Hayes (Rodriguez I), 591 F.3d 1105, 1122–23 (9th Cir. 2010) (noting
 4   differences among class members but holding that “[n]onetheless, the constitutional issue at the
 5   heart of each class member's claim for relief is common”); see also Baños v. Asher, No. 2:16-
 6   CV-01454, Dkt. #67, Magistrate Judge’s Report and Recommendation Granting Amended
 7   Motion for Class Certification (W.D. Wash. Oct. 17, 2017), report and recommendation
 8   adopted, No. 2:16-CV-01454-JLR, Dkt. #70 (W.D. Wash Dec. 11, 2017) (commonality satisfied
 9   where answer to central question of class members’ entitlement to bond hearings upon detention
10   becoming prolonged will resolve the case).
11            Finally, 8 U.S.C § 1252(f)(1) does not bar certification under Rule 23(b)(2). Defendants
12   do not dispute that that statute has no bearing on Plaintiffs’ statutory claims. In addition,
13   § 1252(f)(1) does not apply to Plaintiffs’ due process claim because it falls within the statute’s
14   express exception for individuals in immigration proceedings and because the statute does not
15   apply to habeas petitions. And even if the statute did bar injunctive relief for Plaintiffs’ claims, it
16   would not bar class certification of Plaintiffs’ claims for declaratory relief on their constitutional
17   claims. See Rodriguez I, 591 F.3d at 1119.
18      II.      ARGUMENT
19               A. Plaintiffs Satisfy the Rule 23(a) Requirements
20                       1. Commonality
21            Defendants argue that because the putative class includes individuals in different
22   procedural postures in their immigration cases, Plaintiffs cannot maintain a common claim that
23   their detention violates due process under Zadvydas, 533 U.S. 678. See Def’s Opp., ECF No. 28,
24   at 13-16. This argument fundamentally misunderstands the nature of Plaintiffs’ due process
25   claims, which seek a bond hearing, not outright release under Zadvydas. Moreover, Defendants
26   do not contest that Plaintiffs’ statutory claims are common. Properly understood, Plaintiffs’ legal
27   claims are unquestionably common and uniform across the class. The common question is
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 1   whether detention beyond six months without an individualized bond hearing violates
 2   § 1231(a)(6) and the Constitution.
 3          Most important, Defendants do not contest that the legal question raised by Plaintiffs’
 4   statutory claim—whether § 1231(a)(6) requires an individualized bond hearing for class
 5   members facing prolonged detention—is shared by all individuals in the putative class. Plaintiffs
 6   maintain that Diouf II definitively construed § 1231(a)(6) to require bond hearings after six
 7   months of detention. Diouf II, 634 F.3d at 1086. As Defendants admit, because the “same
 8   statutory text cannot properly be given ‘different meanings in different cases,’” Diouf II’s
 9   construction of § 1231(a)(6) must uniformly apply to all class members regardless of any
10   individual differences in their immigration cases. Def’s Opp., ECF No. 28, at 14 (quoting Clark
11   v. Martinez, 543 U.S. 371, 383 (2005)). While Defendants argue that the interpretation of §
12   1231(a)(6) in Diouf II is irreconcilable with the Supreme Court’s decision in Jennings v.
13   Rodriguez, 138 S. Ct. 830 (2018), this position underscores the commonality of the class: if
14   Defendants are correct that Jennings overrules Diouf II, this legal defense will apply uniformly
15   to all class members. Accordingly, the court’s resolution of Defendants’ legal arguments will
16   “generate common answers [that] drive the resolution of the litigation.” Wal-Mart, 564 U.S. at
17   350 (omitting internal quotation and citation) (emphasis in original).
18          That Plaintiffs’ statutory claim raises common legal questions is sufficient to meet the
19   commonality requirement. Plaintiffs “need not show . . . that ‘every question in the case, or even
20   a preponderance of questions is capable of class wide resolution. So long as there is ‘even a
21   single common question,’ a would-be class can satisfy the commonality requirement . . . .”
22   Parsons v. Ryan, 754 F.3d 657, 675 (9th Cir. 2014) (quoting Wal-Mart Stores, 131 S. Ct. at
23   2556) (emphasis added). Further, courts must refrain from engaging in “free-ranging merits
24   inquiries” at the class certification stage, and may only consider merits questions to the extent
25   “they are relevant to determining whether the Rule 23 prerequisites for class certification are
26   satisfied.” Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455, 465–66 (2013). As a
27   result, the court should reject Defendants’ request to resolve their challenge to the ongoing
28   validity of Diouf II at this stage—the class certification stage.

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 1          Defendants’ objections to the commonality of class members’ due process claim are
 2   equally meritless. Defendants’ contention that Plaintiffs’ due process claim should be controlled
 3   by the Supreme Court’s analysis in Zadvydas, 533 U.S. at 690, is simply wrong. See Def’s Opp.,
 4   ECF No. 28, at 13-16. Zadvydas and its framework does not govern Plaintiffs’ challenge to the
 5   legality of their prolonged detention without an individualized bond hearing. As explained more
 6   fully in Plaintiffs’ Reply in Support of Motion for Preliminary Injunction at 4-7, Defendants
 7   conflate the concepts of prolonged and indefinite detention, and erroneously apply Zadvydas’
 8   restriction on indefinite detention to Plaintiffs’ claims challenging their prolonged detention
 9   pursuant to § 1231(a)(6) without a bond hearing. See Prieto-Romero v. Clark, 534 F.3d 1053,
10   1063 (9th Cir. 2008) (three-year detention was prolonged, but not indefinite, where petitioner’s
11   eventual repatriation to Mexico was likely, and prolonged detention was authorized by statute
12   where petitioner was afforded “adequate procedural protections” in the form of three bond
13   hearings).
14          The Ninth Circuit has already found class certification warranted for a group of
15   immigration detainees, including individuals subject to § 1231(a)(6), challenging their prolonged
16   detention without a bond hearing on constitutional grounds. Rodriguez I, 591 F.3d at 1122-23
17   (ordering certification of a class of immigration detainees subject to prolonged detention under
18   §§ 1225(b), 1236(a), 1236(c), and 1231(a)(6)). The Ninth Circuit observed that, while “members
19   of the proposed class do not share every fact in common or completely identical legal issues,”
20   “the constitutional issue at the heart of each class member’s claim for relief is common.” Id.; see
21   also Diouf II at 1087 (while detainees under different detention authorities may have marginally
22   different liberty interests, those interests are comparable “[r]egardless of the stage of
23   proceedings, [where] the same important interest is at stake – freedom from prolonged
24   detention”). Rodriguez I therefore establishes that class members’ constitutional claims are
25   common.
26          Factual variations among the procedural posture and the relief sought in the class
27   members’ underlying immigration proceedings do not defeat commonality. Regardless of
28   whether individual class members seek withholding of removal in withholding-only proceedings,

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 1   challenge administratively final removal orders, or seek collateral review through a motion to
 2   reopen their final removal orders, they do not present “substantively different constitutional
 3   claims” that lack commonality. 1 Def’s Opp., ECF No. 28, at 16. Any such differences can be
 4   considered by the Immigration Judge at the bond hearing to determine whether the class member
 5   warrants release or should be detained on danger or flight risk grounds; but these differences do
 6   not affect class members’ common claim to such review in the first place. Cf. Califano v.
 7   Yamasaki, 442 U.S. 682, 701 (1979) (where the due process “question is whether a
 8   prerecoupment hearing is to be held,” class relief “is peculiarly appropriate” because the due
 9   process issue is “common to the class as a whole” and “[i]t is unlikely that differences in the
10   factual background of each claim will affect the outcome of the legal issue” of whether a hearing
11   is required).
12           Applying the “permissive” standard for assessing commonality at the class certification
13   stage, Plaintiffs satisfy the commonality requirement because they share common legal
14   questions: whether detention beyond six months without an individualized bond hearing violates
15   § 1231(a)(6) and the Constitution. See Preap v. Johnson, 303 F.R.D. 566, 585 (N.D. Cal. 2014)
16   (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998)).
17                      2. Typicality
18           Defendants claim that Plaintiffs’ proposed class lacks typicality for the same reasons it
19   lacks commonality. See Def’s Opp., ECF No. 28, at 16. For the same reasons outlined in the
20   preceding section, these arguments fail. Defendants sidestep the statutory claim shared by the
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       Defendants argue that members of the proposed class cannot be ascertained, and that it will be
22   unclear which members of the class would be entitled to relief. See Def’s Opp., ECF No. 28, at 2,
     11. This argument appears to rest on Defendants’ contention that the success of each individual
23   plaintiff’s claim for a bond hearing requires an individual inquiry into the likelihood of their
     removal from the United States. Again, likelihood of removal is irrelevant to Plaintiffs’ statutory
24   claim, for which no individualized inquiry is needed. Plaintiffs’ proposed class meets the
25   requirement for ascertainability because it provides three “objective criteria” sufficient to
     determine whether a prospective plaintiff falls within the action: (1) whether an individual is
26   detained pursuant to § 1231(a)(6); (2) whether the individual has been detained longer than six
     months; and (3) whether the individual has received a bond hearing by an Immigration Judge
27   after six months in detention. See Hernandez v. Cty. of Monterey, 305 F.R.D. 132, 152 (N.D.
28   Cal. 2015).


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 1   named Plaintiffs and putative class members, and focus instead on Plaintiffs’ due process claim
 2   and factual differences among class members that have no bearing on the resolution of that
 3   claim. Yet the Ninth Circuit has explained that “Rule 23(a) requires only that [Plaintiffs’] claims
 4   be ‘typical’ of the class, not that they be identically positioned to each other or to every class
 5   member.” Parsons, 754 F.3d at 686 (emphasis added). Plaintiffs meet the “permissive” standard
 6   for typicality because the named Plaintiffs raise the same statutory claim as the class members.
 7   See Rodriguez, 591 F.3d at 1124 (“[T]he typicality requirement is permissive and requires only
 8   that the representative’s claims are reasonably co-extensive with those of absent class members;
 9   they need not be substantially identical.”) (internal quotation marks omitted).
10          Though the named Plaintiffs are in withholding-only proceedings, while other class
11   members may not be, the named Plaintiffs are typical of the class in that all have been, or will be,
12   denied individualized bond hearings pursuant to § 1231(a)(6) based on Defendants’ erroneous
13   interpretation of the statute. Conversely, the named Plaintiffs’ legal claim to an individualized
14   bond hearing applies an interpretation of the statute that is identical to the statutory argument that
15   any individual class member would make regarding § 1231(a)(6). While Defendants suggest that
16   the presence of “unique defenses” render the named Plaintiffs atypical from the class members,
17   Def’s Opp., ECF No. 28, at 12 (citing Kas v. Financial General Bankshares, Inc., 105 F.R.D.
18   453, 461 (D.D.C. 1984)), Defendants do not provide any individualized or unique bases for
19   denying class members bond hearings. Instead, as illustrated by Defendants’ Opposition to
20   Plaintiffs’ Motion for a Preliminary Injunction, Defendants maintain defenses common to all
21   class members: that Jennings overruled Diouf II, and that Zadvydas defeats Plaintiffs’
22   constitutional claims. Plaintiffs, therefore, challenge Defendants’ “practice that affects all class
23   members,” and the “cause of [all class members’ injury] is the same.” Preap, 303 F.R.D. at 586.
24          Defendants erroneously contend again that the framework of Zadvydas must be applied to
25   Plaintiffs’ due process claims, thereby defeating typicality. See Def’s Opp., ECF No. 28, at 17.
26   For the reasons set forth in Part I.A.2 supra, Zadvydas does not determine the success of any
27   individual class member’s due process claim. Therefore, the “numerous reasons that individuals
28   find themselves detained pursuant to § 1231(a)(6),” Def’s Opp., ECF No. 28, at 18, is not legally

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 1   relevant nor does it need to be part of the class definition. Each Plaintiff and each class member
 2   has “suffered the same injury for the same reason,” DL v. District of Columbia, 302 F.R.D. 1, 12
 3   (D.D.C. 2013), because a single practice affects all proposed class members. The named
 4   Plaintiffs are detained pursuant to § 1231(a)(6) for longer than six months, have not been granted
 5   an individualized bond hearing as to flight risk and danger to the community, and are advancing
 6   claims of a violation of the Due Process Clause—in turn, they are typical of the class members.
 7   Nothing more is required.
 8                        3. Adequacy
 9           Defendants challenge adequacy too, on the same basis they challenge commonality and
10   typicality. See Def’s Opp., ECF No. 28, at 19. Without referencing the named Plaintiffs’
11   statutory claim, and ignoring their adequacy as class representatives to advance that claim on
12   behalf of all class members, Defendants focus entirely on the named Plaintiffs’ likelihood of
13   removal from the United States. For the reasons stated in Parts II.A.1 and 2 supra, neither the
14   named Plaintiffs’ likelihood of removal from the United States nor their prior removal orders
15   renders their due process claims different from those held by individual class members. 2
16           The named Plaintiffs are adequate representatives because they: (1) possess the same
17   interests—obtaining a ruling interpreting § 1231(a)(6) as requiring an individualized bond
18   hearing after six months of detention; and (2) have suffered the same injuries—being denied
19   bond hearings by Defendants based on Defendants’ erroneous interpretation of § 1231(a)(6).
20   Defendants advance no persuasive reason why the named Plaintiffs would not adequately
21   advance the interests of the individual class members in obtaining the bond hearings to which
22   they are entitled.
23           Finally, Defendants do not challenge the adequacy of Plaintiffs’ counsel to represent the
24   proposed class in this action.
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26     Similarly, the certification of subclasses would not be necessary to reflect legal interests held
     by different class members, as Defendants suggest. See Def’s Opp., ECF No. 28, at 20.
27   However, to the extent that the court finds that any differences between class members are
     legally relevant to the questions presented in this case, the court should request briefing from the
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     parties on whether the creation of subclasses could address any differences in legal interests.

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 1                        4. Numerosity
 2          Defendants do not seriously contest the numerosity of the proposed class, other than to
 3   suggest that the grouping of all individuals detained under § 1231(a) is “overbroad.” Def’s Opp.,
 4   ECF No. 28, at 10 n.6. For the reasons described in the preceding sections, the proposed class is
 5   entirely appropriate given the Plaintiffs’ statutory claim and common legal questions. Moreover,
 6   the declarations and evidence submitted by Plaintiffs in support of their motion for class
 7   certification are far from “vague” and contain more than “bare allegations.” Id. The declarations
 8   of immigration attorneys identify at least 60 putative class members, providing details about
 9   individuals represented by those attorneys who fall within the proposed class, as well as other
10   individuals known to those attorneys who are putative class members. See Wolfe-Roubatis Decl.
11   ¶¶ 6-11; Whitfield Decl. ¶¶ 5-8; Weisner Decl. ¶¶ 5-6; Kreimer Decl. ¶ 6; Green Decl. ¶¶ 6-12;
12   Stavros Decl. ¶¶ 4-8, Dkt. 21-1. These declarations demonstrate that “the class is so numerous
13   that joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). And they far exceed the
14   “speculative or conclusory representations” regarding numerosity that suffice for class
15   certification. Doe v. Charleston Area Medical Ctr., 529 F.2d 638, 645 (4th Cir. 1975).
16          B.      Section 1252(f)(1) Does Not Bar Class Certification Under Rule 23(b)(2)
17          Defendants assert that “Plaintiffs cannot satisfy Rule 23(b)(2) because this court does not
18   have jurisdiction to grant relief on Plaintiffs’ constitutional claims on a classwide basis” under 8
19   U.S.C. § 1252(f)(1). 3 Def’s Opp., ECF No. 28, at 2. This argument fails under binding Ninth
20   Circuit precedent.
21          As Defendants concede, § 1252(f)(1) has no applicability to Plaintiffs’ statutory claims.
22   See Opp. at 20-21. In Rodriguez I, the Ninth Circuit held that § 1252(f)(1) does not bar claims
23   for injunctive relief to stop violations of the Immigration and Nationality Act (“INA”). See 591
24   F.3d at 1120. Such a claim does not “seek to enjoin the operation of the immigration detention
25   statutes, but to enjoin conduct it asserts is not authorized by the statutes.” Id. Accordingly,
26
     3
       Section 1252(f)(1) provides that “no court (other than the Supreme Court) shall have
27   jurisdiction or authority to enjoin or restrain the operation of [8 U.S.C. §§ 1221–1232] other than
     with respect to the application of such provisions to an individual alien against whom
28
     proceedings under such part have been initiated.” 8 U.S.C. § 1252(f)(1).

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 1   Plaintiffs may maintain their claims for injunctive relief to remedy statutory violations of the
 2   INA and the Administrative Procedure Act, notwithstanding § 1252(f)(1).
 3           Because certification of Plaintiffs’ statutory claims is appropriate under Rule 23(b)(2),
 4   this court need not address Defendants’ claim that § 1252(f)(1) bars injunctive relief for
 5   Plaintiffs’ constitutional claims. As in Rodriguez I, Plaintiffs argue “only that the immigration
 6   detention statutes, to the extent they cannot be interpreted as requiring provision of a bond
 7   hearing, must be enjoined as unconstitutional. However, as this latter argument for relief may
 8   never be reached, it cannot be a basis for denial of class certification.” Id. at 1120.
 9           Nevertheless, if this court reaches the issue, it should reject Defendants’ argument for at
10   least three reasons. First, § 1252(f)(1) creates an exception for individuals “against whom
11   proceedings under such part have been initiated.” 8 U.S.C. § 1252(f)(1). Every class member
12   here plainly falls within this exception because they are in proceedings.
13           Second, § 1252(f)(1) cannot prohibit injunctive relief in this case because it is a habeas
14   corpus petition brought under 28 U.S.C. § 2241. The Supreme Court has repeatedly held that
15   Congress may not strip the federal courts of power to grant habeas relief by statute without
16   explicitly mentioning the general federal habeas statute – 28 U.S.C. § 2241 – by name. See, e.g.,
17   INS v. St. Cyr, 533 U.S. 289, 314 (2001); Zadvydas, 533 U.S. at 688. Section 1252(f)(1) does not
18   mention either habeas corpus or § 2241 by name, and therefore does not satisfy St. Cyr’s clear
19   statement rule for repeals of habeas authority.
20           Third, § 1252(f)(1) does not bar declaratory relief for constitutional claims. As the Ninth
21   Circuit held in Rodriguez I, “[§] 1252(f) was not meant to bar classwide declaratory relief.” 591
22   F.3d at 1119. Rule 23, by its terms, permits certification where “the party opposing the class has
23   acted or refused to act on grounds that apply generally to the class, so that final injunctive relief
24   or corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ.
25   P. 23(b)(2) (emphasis added). Because Plaintiffs here seek “corresponding declaratory relief,”
26   class certification is appropriate even if injunctive relief is not available.
27           Finally, Defendants suggest that class certification under Rule 23 is never available for
28   due process claims, citing the Supreme Court’s recent decision Jennings, 138 S. Ct. 830. Def’s

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 1   Opp., ECF No. 28, at 21. The Supreme Court there remanded to the Ninth Circuit to address
 2   several issues, including whether Rule 23 authorized class certification of plaintiffs’ due process
 3   claim to a bond hearing. Id. at 852. A panel of the Ninth Circuit recently ordered the parties to
 4   submit supplemental briefing on these issues. 4 Although the Ninth Circuit has not yet addressed
 5   the issue in Rodriguez, the federal courts have repeatedly found class certification warranted for
 6   due process claims, including for immigration detainees’ due process claim to a bond hearing in
 7   cases of prolonged detention. See Rodriguez I, 591 F.3d at 1119; Motion for Class Certification
 8   at 19-20 (collecting cases).
 9              For the reasons set forth previously, this is a paradigmatic case for certification under
10   Rule 23(b)(2). See Mot. at 17-19. Because Defendants fail to identify any reason to rebut that
11   they have “refused to act on grounds that apply generally to the class,” certification is
12   appropriate under Rule 23(b)(2).
13       III.      CONCLUSION
14              Pursuant to Rules 23(a) and 23(b) of the Federal Rules of Civil Procedure, named
15   Plaintiffs accordingly request that the court certify their proposed class of plaintiffs with them as
16   the appointed representatives:
17                     All individuals who are detained pursuant to 8 U.S.C. § 1231(a)(6)
                       in the Ninth Circuit 5 by, or pursuant to the authority of, the U.S.
18                     Immigration and Customs Enforcement, and who have reached or
19                     will reach six months in detention, and have been or will be denied
                       a prolonged detention bond hearing before an Immigration Judge.
20
21
     4
       See Supplemental Briefing Order, Rodriguez v. Marin, Nos. 13-56706, 13-56755 (9th Cir. Apr.
22   26, 2018), ECF No. 161. If this court is inclined to wait for the Ninth Circuit’s resolution of these
23   issues, this court should immediately grant Plaintiffs’ motion for certification on their statutory
     claims and hold in abeyance consideration of their constitutional claims until the Ninth Circuit
24   issues a decision in Rodriguez.
     5
       The Central District of California and the Western District of Washington have each certified
25
     classes of individuals detained under § 1231(a)(6) in their respective districts. See Rodriguez v.
26   Holder, No. CV 07-3239 TJH RNBX, 2013 WL 5229795, at *1 (C.D. Cal. Aug. 6, 2013); Baños
     v. Asher, No. 2:16-CV-01454, Dkt. #77, Magistrate Judge’s Report and Recommendation
27   Granting Summary Judgment as to the 1231(a)(6) Class Members (W.D. Wash. Jan. 23, 2018),
     report and recommendation adopted, No. 2:16-CV-01454-JLR, Dkt. #83 (W.D. Wash Apr. 4,
28
     2018). These individuals are excluded from the putative class in this case.

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 1          Further, named Plaintiffs request that the court approve and appoint Van Der Hout,
 2   Brigagliano & Nightingale, LLP, Centro Legal De La Raza, Matthew Green, ACLU-SC, ACLU-
 3   NC, and ACLU-SD as class counsel. Alternatively, Plaintiffs request class discovery to
 4   demonstrate the ripeness of this action for class certification.
 5
 6   Dated: May 17, 2018                            Respectfully submitted,
 7
                                                By: s/Alison Pennington______________
 8                                                 Alison Pennington
                                                   Lisa Knox
 9                                                 Julia Rabinovich
                                                   Jesse Newmark
10                                                 CENTRO LEGAL DE LA RAZA
11                                                  Marc Van Der Hout
                                                    Judah Lakin
12                                                  Amalia Wille
                                                    VAN DER HOUT, BRIGAGLIANO &
13                                                  NIGHTINGALE LLP
14                                                  Matthew H. Green
                                                    LAW OFFICES OF MATTHEW H. GREEN
15
                                                    Michael Kaufman
16                                                  AMERICAN CIVIL LIBERTIES UNION
                                                    FOUNDATION OF SOUTHERN CALIFORNIA
17
                                                    Vasudha Talla
18                                                  Julia Mass
                                                    American CIVIL LIBERTIES UNION
19                                                  FOUNDATION OF NORTHERN CALIFORNIA
20                                                  Bardis Vakili
                                                    AMERICAN CIVIL LIBERTIES UNION
21                                                  SAN DIEGO AND IMPERIAL COUNTIES
22                                                  Attorneys for Plaintiffs-Petitioners and the
                                                    Proposed Class
23
24                            CERTIFICATION UPON ELECTRONIC FILING
25
     I hereby certify that I obtained concurrence in the filing of this document from the signatory,
26
     Alison Pennington.
27
            /s/ Judah Lakin
28              Judah Lakin

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